Case 2:04-cr-20471-.]P|\/| Document 95 Filed 09/02/05 Page 1 of 2 PagelD 105

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lN THE uNlTED STATEs DlsTRlcT COURT
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UN|TED STATES OF AMERlCA ljr'“`l 1 =1_. _1.pH;3

Plaintiff
VS.

CR. NO. 04-20471-D

NAKEC|A PORTER

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG F’ER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a change of plea hearing date on September 2, 2005.
At that time, counsel forthe defendant requested a continuance of the September 6, 2005
trial date to allow counsel additional time to review the proposed plea agreement

The Court granted the request and reset the trial date to October 3, 2005 with a

change of plea hearingl report date of Thursday, September 22l 2005l at 10:45 a.m.,

in Courtroom 3 ch F|oor of the Federa| Bui|ding, |Vlemphis, TN.

 

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this 254 day Of September, 2005.

    

B RN|CE B. DO ALD
U |TED STATES DlSTR|CT JUDGE

This document entered on the docket$heet ln compliance

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UNITED sTESAT DISTRICT COURT - WETRSE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 95 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

